                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

GARY WASHINGTON,                                     *

                             Plaintiff,              *
       v.                                                   Civil No.: 1:19-cv-02473-SAG
                                                     *
BALTIMORE POLICE
DEPARTMENT, et al.,                                  *

                             Defendants.             *

*      *      *      *   *     *    *    *   *   *    *                           *      *
                    MOTION TO DISMISS AMENDED COMPLAINT

       Defendants Baltimore Police Department and the Mayor and City Council hereby move to

dismiss all claims asserted against them pursuant to Federal Rule of Civil Procedure 12(b)(6)

because the Complaint fails to state a claim upon which relief can be granted. Alternatively, and

in addition, Defendant BPD moves to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1)

because BPD has immunity from suit in federal court pursuant to the Eleventh Amendment to the

United States Constitution. Defendants have attached a memorandum of law in support of this

motion.

       WHEREFORE, Defendants respectfully request that this Honorable Court issue an Order

dismissing the Amended Complaint against them with prejudice and without leave to amend.



                                                   Respectfully submitted,

                                                   Andre M. Davis (362)
                                                   CITY SOLICITOR




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                                                    /s/
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                                                   Assistant City Solicitor

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                                                   Attorneys for BPD and MCC



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 2, 2019, a copy of the foregoing Motion to

Dismiss, Supporting Memorandum of Law, and Proposed Order, were filed with the United States

District Court for the District of Maryland and forwarded to all counsel of record via CM/ECF. A

courtesy copy was delivered to: United States District Court for the District of Maryland, Attn:

Clerk’s Office, 101 West Lombard Street, Baltimore, Maryland 21201.



                                                                   /s/

                                                    Natalie R. Amato (20749)




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